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      EXHIBIT C
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       From:                      Bode, StephenJ [stephen.bode@baml.com!
       Sant                       Friday, December 11, 2009 4:32 PM
       To:                         Mercurio, Patricia
       Cc:                         Knopf, Kevin
       Subject:                    Maritz Investment Account

       Pat,

       Maritz will be acquiring the minority ownership shares of AEIS hopefully prior to year end. With the Acquisition
       Mantz will gain control of approximately $45MM in various bond mutual funds. These investments are required to
       become collateral under our agreement. After close Marltz will be required to open up an investment/brokerage
       account with Merrill Lynch and will transfer the investments into the account. The investments today are held
       directly at various mutual fund companies. The transfer in will represent S45MM of new assets under
       management for Merrill. I spoke with Kent Reynolds, US Trust member assigned to the Maritz andREDACTED
        Based on the needs he felt It was fine to work with a Merrill Associate. I informed him that I have been asking Mo
       Schutte about certain account structures and the steps to transfer the assets into Merrlll. Kent said it was okay to
       work with MO. Mo has spoken with the client to discuss fee structure and account type.

       I would expect the S45MM to be here in Feb. Our amendment closed in the Middle of November. Maritz is
       finalizing legal documents to complete the acquisition.

       Please note my new e-mail address

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